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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

SEA SHIPPING LINE, INC.,                               §
                                                       §
       Plaintiff,                                      §
                                                       §
v.                                                     §
                                                       §       Civil Action No. 4:22-cv-0550
MY EQUIPMENT, LLC                                      §
                                                       §
       Defendant                                       §

     DEFENDANT MY EQUIPMENT, LLC’S RULE 12(b)(1) MOTION TO DISMISS
             FOR LACK OF SUBJECT MATTER JURISDICTION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Defendant, My Equipment, LLC (“My Equipment”) in the above styled

and numbered cause of action, and files this its Rule 12(b)(1) Motion to Dismiss for Lack of

Subject Matter Jurisdiction, and, in support of same, would respectfully show the following:

                                          I
                                 SUMMARY OF ARGUMENT

       Defendant, My Equipment, requests this Honorable Court to dismiss Plaintiff’s complaint

against it for lack of subject matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1).

       Plaintiff has made no allegations raising any issues of admiralty or maritime law.

Pursuant to Fed. R. Civ. P. 12(b)(1), this Honorable Court has no subject matter jurisdiction over

the claims at issue, and must dismiss the above-styled cause for same.

                                            II
                                 BASIS OF CLAIMS AT ISSUE

       Plaintiff has sued My Equipment for an alleged failure to pay on a contract. Plaintiff has

alleged no breaches or issues raising any issue of maritime or admiralty law. This is a simple




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breach of contract suit. The Court does not have proper subject matter jurisdiction over the

claims in question to hear this matter.

                                              III
                                           STANDARD

       Upon filing of its original petition, Plaintiff bears the burden of establishing that the

Court has jurisdiction. Adelson v. Hananel, 510 F.3d 43, 48 (1st Cir. 2007); Rio Props., Inc. v.

Rio Int’l Interlink, 284 F.3d 1007, 1019 (9th Cir. 2002); Neogen Corp. v. Neo Gen Screening,

Inc., 282 F.3d 883, 887 (6th Cir. 2007).

       Once a defendant files a motion to dismiss for lack of subject matter jurisdiction, the

plaintiff bears the burden of establishing that the Court has jurisdiction over the dispute. Lujan v.

Defenders of Wildlife, 504 U.S. 555, 561 (1992); Thomas v. Gaskill, 315 U.S. 442, 446 (1942);

Luckett v. Bure, 290 F.3d 493, 496-97 (2nd Cir. 2002). Plaintiff may not rely upon pleadings, but

must, by means of evidence, set forth specific facts demonstrating jurisdiction. Davis v. Wells

Fargo, 824 F.3d 333, 346 (3rd Cir. 2016); Foster-Miller, Inc. v. Babcock & Wilcox Canada, 46

F.3d 138, 145 (1st Cir. 1995); Theunissen v. Matthews, 935 F.2d 1454, 1458 (6th Cir. 1991).

Furthermore, the plaintiff must establish the facts giving rise to subject matter jurisdiction by a

preponderance of the evidence. Davis, 824 F.3d at 346; Irwin v. Veterans Admin., 874 F.2d

1092, 1096 (5th Cir. 1989), aff’d sub nom. Irwin v. Dept. of Veterans Affairs, 498 U.S. 89 (1990).

       The question of subject matter jurisdiction is a question of law that must be reviewed de

novo. Kruso v. International Telephone & Telegraph Corp., 872 F.2d 1416, 1421 (9th Cir.

1989), cert. denied, 496 U.S. 937, 110 S.Ct. 3217, 110 L.Ed.2d 664 (1990); United States v.

McConney, 728 F.2d 1195, 1201 (9th Cir.) (en banc), cert. denied, 469 U.S. 824, 105 S.Ct. 101,

83 L.Ed.2d 46 (1984).




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                                       IV
                      LACK OF SUBJECT MATTER JURISDICTION

       Plaintiff’s sole pleading on the subject of jurisdiction are: “This is an admiralty or

maritime claim under Rule 9(h) of the Federal Rules of Civil Procedure. This Honorable Court

has subject matter jurisdiction pursuant to 28 U.S.C. § 1333.” Plaintiff’s Original Complaint,

Docket Entry 1, p. 2. However, Plaintiff fails to plead why this is so. This conclusory sentence

is the only mention of subject matter jurisdiction in Plaintiff’s Complaint.

       Plaintiff fails to allege any special admiralty or maritime claims. See Fed. R. Civ. P.,

Suppl. R. for Admiralty or Maritime Claims. Accordingly, the only conceivable basis for

admiralty or maritime jurisdiction would be through contractual admiralty jurisdiction.

However, the only thing plead by Plaintiff is an alleged failure to pay. Failure to perform

activities that merely bear upon maritime activities are not enough to establish contractual

admiralty jurisdiction. Thames Towboat v. The Schooner Francis MacDonald, 254 U.S. 242, 41

S.Ct. 65 (1920)(ship construction); MacDougall’s Cape Cod Marine Serv., Inc. v. One Christina

40′ Vessel, 721 F.Supp. 374 (D. Mass 1989), aff’d, 900 F.2d 1990 (1st Cir. 1990) (ship

purchase).

   Furthermore, none of the exhibits to Plaintiff’s Original Complaint are proven up by affidavit

or testimony, nor do they constitute admissible evidence, as required to establish jurisdiction.

See Madison-Hughes v. Shalala, 80 F.3d 1121, 1130 (6th Cir. 1996).

   Plaintiff has failed to establish proper subject matter jurisdiction for its claims. This is a

simple breach of contract lawsuit. For this reason, this Court should dismiss this lawsuit.




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                                                 V
                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, My Equipment moves this Honorable

Court to dismiss all Plaintiff’s claims against it for lack of subject matter jurisdiction, and

requests all other relief, at law or in equity, to which it may be justly entitled.


                                                Respectfully submitted,




                                                /s/ Stacey L. Barnes___________
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 29th day of September, 2022, a true and
correct copy of the foregoing instrument has been forwarded to all counsel of record and/or pro
se parties, by means of the Court’s electronic filing system, in accordance with the Rules of Civil
Procedure.

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              /s/Stacey L. Barnes______
                Stacey L. Barnes




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